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                                        U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     86 Chambers Street
                                                     New York, New York 10007



                                                     April 19, 2022


BY ECF
The Honorable Laura Taylor Swain
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Nunez v. City of New York, 11 Civ. 5845 (LTS)(JCF)

Dear Judge Swain:

         We write respectfully on behalf of the United States in connection with the status
conference to be held on April 26 to discuss the content of the Special Report filed by the
Monitor on March 16 (ECF No. 438), as well as the recommendations included in the report (the
“Monitor Recommendations”). While we agree with the Monitor Recommendations and appreciate
that the Department of Correction (the “Department”) and City appear to embrace almost all of
them, we remain frustrated by the lack of specific information provided thus far on how the
Department and City intend to actually implement the recommendations and address the ongoing
unsafe and dangerous conditions at the jails. In order to facilitate a productive conference, we
respectfully request that the Court direct the Department and the City to submit a report to the
Court in advance of the conference setting forth: (a) the specific operational steps and actions
the Department and City will take (or have already taken) to implement each of the Monitor
Recommendations; (b) who specifically will be responsible for overseeing the operational steps
and actions necessary to implement the recommendations (including agencies and management
personnel outside the Department); (c) the proposed timeline for implementing each
recommendation; and (d) and any plans to retain experts from outside the Department to assist in
addressing the systemic deficiencies outlined in the Special Report. In addition, we respectfully
request that the Court direct the Commissioner of the Department and a representative from the
Mayor’s Office to attend the conference so that they are available to directly respond to any
questions the Court may have relating to the submission.

        We remain alarmed by the extraordinary level of violence and disorder at the jails and the
ongoing imminent risk of harm that inmates and correction officers face every day. The
continuing failure to follow basic security protocols, dysfunctional staff deployment practices,
inexplicably high staff absenteeism levels, deficient management and supervision of frontline
officers, and the failure to hold staff timely accountable for the use of excessive and unnecessary
force against inmates have resulted in an unsafe environment and non-compliance with the core
provisions of the Consent Judgment and the three Remedial Orders entered by this Court. These
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systemic failures have been outlined in great detail not only in the Special Report filed last
month, but also in numerous prior reports filed by the Monitor.

         Based on our recent meetings with the Department, the City, and the Monitor, it is our
understanding that the Department and the City generally agree with the vast majority of the
Monitor Recommendations. However, the Monitor Recommendations are quite general, calling
for the development of policies, procedures, processes, plans, and systems to address long-
standing dysfunctional practices. In addition, some of the Monitor Recommendations are similar
to prior recommendations that the Department has previously failed to adopt and implement, and
others overlap with the existing requirements of Remedial Orders with which the Department has
failed to comply. At this point—more than six years after the Consent Judgment and after the
issuance of three Remedial Orders designed to remedy the Department’s ongoing non-
compliance with court-ordered relief—the Department and City must commit to taking specific
and concrete operational steps and instituting dramatic systemic changes to actually implement
the Monitor Recommendations on an expeditious timeline. Further, the Department and City
ought to be required to explain how these efforts will differ from, and are likely to be more
fruitful than, the many iterations of prior failed reform initiatives. As noted by the Monitor, “[i]t
is the responsibility of the City and the Department to develop and implement the reforms
required by the Consent Judgment, which, to date, the City and Department have failed to do.”
(Special Report at 1).

        Since the Special Report was filed, we have repeatedly asked the Department and the
City to provide us with a description of the specific steps they intend to take, or have already
taken, to address each of the Monitor Recommendations. To date, we have not been provided
with this level of detail. At our meetings on April 5 and April 14, the City and Department
advised that they generally agree with nearly all of the Monitor Recommendations, but were not
prepared or willing to discuss specific implementation plans. Neither the Commissioner nor any
Department operational staff attended either meeting. We are scheduled to meet again this
Thursday.

        Thus far, the Department and City have failed to explicitly articulate the concrete
operational measures and changes that will be put in place to remedy the pervasive systemic
failures described in the Special Report, and to achieve the objectives set forth in the Monitor
Recommendations. Moreover, the City’s position with respect to some of the core, and possibly
most contentious reforms supported by the Monitor, remains unclear. We have specifically
asked the Department and City to address each of the below areas and questions, but to date they
have not provided our Office with satisfactory responses.

           •   The Monitor concluded that “the level of dysfunction within the Department’s
               staffing framework is unmatched by any jurisdiction with which the Monitoring
               Team has had experience.” (Special Report at 32). He also reported that
               “approximately 30% of the workforce is not coming to work and/or is not available to
               work with incarcerated individuals, with little change evident between August 2021
               . . . and the end of January 2022.” (Id. at 8). The Monitor recommends that the
               Department develop a “remedial scheme” to address the dysfunctional staffing
               practices described in the Special Report, including the troubling findings of the
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       staffing analysis conducted by the Monitor’s expert consultant. (Id. at 32-38, 67).
       The Department, though, has shared little information as to what this remedial
       scheme will entail. Some questions include:

          o What are the Department’s short-term plans to allow management to
            accurately identify the facility, post, and tour to which each staff member is
            assigned, and to address the Monitor’s finding that “the Department cannot
            accurately identify where staff are assigned or their status at any given time?”
            (Id. at 20).

          o How is the Department going to address what the Monitor described as “a
            culture that allows staff to circumvent assignments” to particular housing
            units? (Id. at 33). For example, is the Department willing to eliminate the
            current system under which staff can bid for post assignments, which has
            resulted in the most experienced staff being assigned regularly to posts
            outside of the jails? As the Monitor notes, this system “significantly inhibits
            the flexibility to assign staff where they are needed, and because posts are
            awarded based on seniority, results in many of the most experienced staff
            being assigned to posts where they do not supervise housing units.” (Id. at
            36). To the extent that the City views the current collective bargaining
            agreement as an obstacle to effectively combatting this problem, how does
            the City intend to address this?

          o How is the Department going “to minimize the reliance on uniform staff
            for tasks that can and should be reasonably completed by civilians,” as
            recommended by the Monitor? (Id. at 69).

          o To the extent the Department is willing to adopt the Monitor’s
            recommendation to evaluate the status of the hundreds of uniformed staff
            currently out on extended sick leave or on “Medical Restriction 3” status (id.
            at 68), how specifically is the Department going to assess whether staff
            members must return to work or no longer have a medical impairment that
            prohibits them from being assigned to posts involving inmate contact? What
            is the timeline for conducting this review? What steps is the Department
            going to take to impose appropriate disciplinary action against staff
            members who are found to have abused the system?

   •   The Monitor has repeatedly attributed the ongoing non-compliance with core
       provisions of the Consent Judgment to the inadequate supervision of line-level
       uniformed staff by facility leaders, including Wardens, and has concluded that the
       current individuals in these facility leadership positions lack the requisite
       expertise, competence, and commitment to implement the needed reforms. As
       early as May 2021, the Monitor recommended that the City expand the criteria for
       who may serve in these positions so that the Department would no longer be
       limited to selecting individuals from the uniformed ranks and could instead hire
       qualified and experienced individuals from outside the agency. (11th Monitor’s
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               Report, ECF No. 368 at 15). In January of this year, the City advised us that it
               would not agree to a consent order permitting such external hiring. The Monitor
               has now once again made the same recommendation. (Special Report at 69-70).
               Although the City recently notified us for the first time that it is now willing to
               hire individuals from outside the agencies to directly oversee the jails, the plan for
               accomplishing this remains hazy. How will the Department recruit qualified
               corrections professionals to fill these positions? What is the timeframe for hiring
               them? To whom will these individuals report within the agency?

           •   The Monitor found that “a large proportion of Captains are assigned to positions
               that do not involve supervising the housing unit,” and recommends that the
               Department “evaluate the assignment of Captains to develop a plan to prioritize
               assignment to the housing units, subject to the approval of the Monitor.” (Id. at 5,
               70). The Department has not provided any details regarding how it will implement
               such a plan, including what criteria will be used to evaluate current Captain post
               assignments. Is the Department willing to commit to reassigning a certain number of
               Captains to housing area posts? Is the Department willing to agree to limit the
               percentage of Captains assigned to non-housing area posts?

           •   The Monitor noted that the implementation of the “interim Security Plan”
               required by the Second Remedial Order “has been sporadic and of such poor
               quality that unsafe staff practices remain rampant.” (Id. at 44). According to the
               Monitor, “the Department has failed to meaningfully implement solutions to any
               of the immediate problems such as unsecured doors, post abandonment, poor key
               control, outdated post orders, escorted movement with restraints when required,
               incarcerated individuals congregating around secure ingress/egress doors, poorly
               managed vestibules, and poorly secured OC spray.” (Id. at 22). In addition to
               hiring a Security Operations Manager, what other specific actions is the Department
               committed to taking to address the routine breaches of security protocols that are
               resulting in violence and serious injuries to inmates and staff? How are these efforts
               going to differ in a meaningful way from prior failed efforts to address the same
               security deficiencies?1

           •   The Special Report sets forth seven specific recommendations made by Dr. James
               Austin, an expert engaged by the Department to assess inmate classification
               processes. (Id. at 54-56). While the Department appears to be in the process of
               adopting some of these recommendations, it is unclear whether the Department
               has agreed to implement all of them. Is the Department willing to commit to
               adopting all of these recommendations, including the requirement to reclassify
               inmates every 60 days? If so, when will these changes occur?



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  The Monitor has advised us that on April 14 the Commissioner provided a written plan to address
the deteriorating conditions and escalating level of violence at the Robert N. Davoren Complex
(“RNDC”). This plan has not been shared with our Office so we are not familiar its contents.
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            •   Although the Third Remedial Order required the Department to substantially
                increase the staffing level of the Trials Division (ECF No. 424 at ¶ 4), the Monitor
                found that the Trial Division now has fewer total staff than it did in June 2021 and
                continues to need more resources to prosecute the extraordinary backlog of
                pending disciplinary cases involving staff who have violated the Use of Force
                Policy. (Id. at 60). The Monitor recommends that the Department develop a plan
                to increase the number of attorneys and staff assigned to the Division (id. at 73),
                but the Department has not shared any details on what it intends to do to enhance
                its recruitment efforts to attract and hire qualified candidates. What new
                recruitment strategies is the Department planning to adopt and what are its plans
                to reduce the attrition rate within the Trials Division?

         We respectfully request that the Court direct the Department and City to submit the above-
referenced report in advance of the conference so that the parties, as well as the Court, have more
clarity regarding defendants’ positions and what they envision as the path forward. In addition, we
respectfully submit that the conference will be more productive if the Commissioner and a
representative from the Mayor’s Office are available to directly address any questions the Court
may have, as opposed to waiting for counsel to respond at a later date.

         The jails are in a state of crisis, inmates and staff are being seriously injured, and action is
desperately needed now. Based on our experience over the last six years and the sustained non-
compliance with key Consent Judgment provisions and the three subsequent Remedial Orders
entered by this Court, our Office is very concerned about whether the Department and City have the
ability, expertise, and will to swiftly make the changes necessary to bring true reform to this deeply
troubled agency. Absent a commitment to expeditiously make the dramatic systemic reforms
identified by the Monitor and to bring in corrections experts from outside the Department to
revamp the agency’s operations and staffing practices, we will be left with no other option but to
seek more aggressive relief, which could involve seeking the appointment of a receiver with
independent authority to implement sweeping reforms and to take all necessary actions to
comply with the Consent Judgment and Remedial Orders and implement the Monitor
Recommendations.
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       We appreciate the Court’s consideration of this matter and look forward to a productive
conference.

                                                   Respectfully,

                                                   DAMIAN WILLIAMS
                                                   United States Attorney

                                                By: /s/ Jeffrey K. Powell
                                                   JEFFREY K. POWELL
                                                   LARA K. ESHKENAZI
                                                   Assistant United States Attorneys
                                                   Tel: (212) 637-2706/2758
                                                   Email: Jeffrey.Powell@usdoj.gov
                                                           Lara.Eshkenazi@usdoj.gov


cc:    all counsel of record (via ECF)
